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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

                                                        x

YEHUDA DEWICK          ,                                      Civil Action No.:

                                Plaintifi
                 -against-                             COMPLAII{T FOR VIOLATIONS
                                                       OF TITE TELEPHONE
                                                       CONSUMER PROTECTION AC ACT
J.P. MORGAN CHASE &, CO.,

                                Defendant(s).         DEMAND f,'OR JURY TRIAL



                       INTRODUCTIONIPRELINIINARY STATEMENT


       PlaintiffYEHUDA DEMCK by andthrough his attorney, M. Harvey Rephen &

Associates, P.C.,by Edward B. Geller, Esq., P.C., Of Counsel, as and for his Complaint against

the Defendant J.P. MORGAN CHASE & CO., (hereinafter referred to as Defendant" respectfully

sets forth, complains and alleges, upon information and belief, the   following:


                       INTRODUCTIONIPRELIMINARY STATEMENT

       1.        Plaintiff brings this action on his own behalf for damages and declaratory and

injunctive relief arising &om the Defendant's violation(s) under Title 47 of the United States Code,

$227 comrronly known as the Telephone Consumer Protection Act (TCPA).

       2.        Defendant is subject to, and required to abide by, the laws of the United States

and the State   ofNew Jersey, which include the Telephone Consumer Protection Act of 1991,47

U.S.C. 5227,et seq. ('TCPA.) and its related regulations, including 47 C.F.R. $64.1200 ("TCPA

Regulations"), as well as the opinions, regulations and orders issued by the Federal
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Communications Commission to implement and enforce the TCPA, the telemarketing

regulations issued by the Federal Trade Commission, 16 C.F.R. $310.4(dX2).




                                                   PARTIES

       3.             Plaintiff YEI{UDA DEWICK is a resident of the State of NEW JERSEY

residing at 17 F'ORD AVENUE, LAKEWOOD, NJ 08701                    .




       4.             Defendant CHASE     BANK     has a Corporate Headquarters located ar270

PARK AVENUE NE,W YORK. NY 10017.




                                       JURTSDTCTTON        Al[D vEI{IrE

       5.             The Court has jurisdiction overthis matterpursuant to 28 USC $ 1331 and 28 U.S.C.

82201. If applicable, the Court also has pendent jurisdiction over the state law claims in this action

pursuant to 28 U.S.C. $1367(a).

       6.             Venue is proper in this judicial district pursuant to 28 U.S.C. $ 1391Q)(2).

                                         FACTUAL ALLEGATIONS

       7   .          Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
               oo1"
numbered              ttrough "6" herein with the same force and effect as if the same were set forth at

length herein.

       8.             On or about May of 2018 , Defendant began communicating with the Plaintiffby

placing autodialed telephone calls to the Plaintiff s cell phone number 848-525-9569 and leaving

automated messages. The Defendant would call from numbers 847-426-9138,847'426-8085,402-

220-4351,407 -7 32-2416, 210-520-AA6 and 210-520-6400.
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         g.        On May 10, 2018, in response to these telephone calls the Plaintiff called the

Defendant and was connected with a female representative.The Plaintiff gave the representative

his name and password.

          10.      The Plaintiff explained that he had been receiving phone calls to his   cell phone and

would like for them to stop. He then inquired about several issues with his credit card statement.

          1   1.   The representative gave the Plaintiff the information he needed and answered his




          12.      The call was then concluded.

          13.      Since the conclusion of the call with the pefenaait and the requests to have the

phone calls stop the Plaintiffhas received at least 200 calls     to his cell phone from the Defendant.

The calls continued to come in at a rate of 5 calls every other day.

                                       rIRST CAUSE      9r   ACTTqN
                                          (Violations of the TCPA)

          14.      Plaintiffrepeats, reiterates and incorporates the allegations contained in paragraphs

                           o'13"
numbered "1" through               herein with the same force and effect as if the same were set fixth at

lengIh herein.

          15.      According to the Telephone Consumer Protection Act 47 USC $227(bXAXiii),           "It

shall be unlawfrrl for any person within the United States, or any person outsidE the United States

if   the recipient is within the United States (A) to make any call (other than a call made for

emergency puxposes or made with the prior consent of the called parry) ustng any automatic

telephone dialing system or an artificial or pre-recorded voice--- (iii) to any telephone number

assigned to a paging service, cellular telephone service, specialized mobile radio service, or other

radio common ca:rier service, or any service for which the called party is charged for the call,

unless such call us made solely to collect a debt owed to or guaranteed by the United States."
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        16.    It has been determined that the statute language adding "or" any service for which

                                                                                     must claim that
the called party is charged, is not accurately interpreted to require that Plaintiff

Defendant's calls incurred charges.   See   Breslow c. Wells Fargo Bsnk, N.A.857 F. Supp 2d

                                                                                  (S'D'
1316, 1319 (S.D. Fla.2012) Cavero v. Franklin Collection Serv.. hnc.,2012WL279448

Fla. 2012). A number of Courts have addressed the issue of a Plaintiff being charged
                                                                                     with all

                                                                                  cell phone to
agreeing that the TCPA does not require a Plaintiff who received calls on his/her

allege that he/she was charged for the call. For example, in Manno v.Healthcare Revenue

Recoveryt Grp.,   LLC. 2gg F.R.D. 674 (S.D. Fla. 2013), the Court held that "The TCPA does not

require the plaintiff to be 'charged for' the calls in order to have standing to sue." In Osorio
                                                                                                    v.


                                                                                             'any
State Farm Bank, F.S.B-,746 F.3d      l24z (llth Cir. 20t4), the Court stated: If the phrase

service for which the called party is charged for the call' requires that the
                                                                              party be charged per

                                                                                            or other
call for the 'paging service, cellular telephone seryice, specialized mobile radio service,

radio common carrier service' in order for the party to prohibit autodialed calls, then the listing

 of these services would be superfluous because they are already included under them 'any
                                                                           'any service for which
 sewice for which the called party is charged.' On the other hand, reading

 the called party is charged for the call' as an additional item beyond any call to a'paging
                                                                                             service,


 cellular telephone service, specialized mobile radio service, or other common carrier service,'

 regardless of whether the called party is charged, gives independent meaning to each
                                                                                      term."

         17.      It is thus clear from the plain language of the TCPA, and its considerable body of

 resultant case law that the TCPA is violated when a cellular telephone is called with an automatic

 dialer without consent, even if no charges are alleged or incurred.
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       18.           With the autodialed calls to Plaintiff s telephone commencing on or about May

2018 and continuing at a rate of approximately 200 times thereafter, the Defendant violated

various provisions of the TCPA, including but not limited to 47 USC $227(bXAXiii).

       19.          The Defendant, having been informed that Plaintitf requested that no further calls

be received.   willfully violated the 'ICPA        at least 200 times.

       20.          Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2015,

paragraphs     13   8 and   13   9, communications from banking institutions which are exempt " . . .are all

intended to address exigent circumstances in which a quick, timely communication with a

consumer could prevent considerable consumer harms               f.o* o..rrling or, in the case of the

remediation calls, could help quickly mitigate the extent of harm that will occur." Pursuant to

Paragraph 139, (3) and (7) "In light of these considerations, we adopt the following conditions

for each exempted call (voice call or text message) made by a financial institution:

3) voice calls and text messages are strictly limited to purposes discussed in paras. 129-137

above and must not include any telemarketing, cross-marketing, solicitation, debt collection, or

advertising content:

7) a financial institution must honor opt-out requests immediately."

       2L            Defendant is in violation of the TCPA paragraphs 139 (3) for, upon information

and belief, having used its calls for debt collection and (7), failing to honor       Plaintiff   s desire to


opt out of telephone communications despite Plaintiff s clear, unequivocal and repeated requests

that such automatic calls cease.

        22.          Defendant violated various provisions of the TCPA, including but not limited to

47 USC $227(bXAXiii).
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                               DEMAND FOR TRIAL BY JUBY

        23.    Plaintiffhereby respectfully requests atrial by jury for all claims and issues in its

Complaint to which it is or may be entitled to a jury trial.




                                         PRAYER FOR RELIEX'

       WHEREBORE, Plaintiffdemands judgment from the Defendant as follows:

               A.      For trebled darnages to be awarded to the Plaintiff in accordance with the

TCPA, for each of the Defendant's willfirlor krrowing violations of the TCPA.

               B.      A declaration that the Defendant's practicelviolated the TCPA;

               C.      For any such other and further relief, as well as firrther costs, expenses and

disbursements of this action, as this Court may deem just and proper.

Dated:October 22,2018




                                       Respectfully submitted,



                                         S/"""J0trL.-*
                                       Edward B. Geller, Esq.
                                       Edward B. Geller, Esq., P.C., Of Counsel to
                                       M. HARVEY REPHEN & ASSOCIATES, P.C.
                                       15 Landing Way
                                       Bronx, New York 10464
                                       Tel:(914)473-6783

                                       Attorney   for   the   Plaintffi   ',

                                       YEHUDA DEWICK
                                                                                 I
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    TO: CHASE BANK
        270 PARK AVENUE
        NEW YORK, NY 10017




         (Yia Prescribed Service)

         Clerk ofthe Court,
         United States District Court, District ofNew Jersey
         Clarkson S Fisher Building & U.S. Courthouse
         402F,ast State Street Room 2020
         Trenton, New Jersey 08608


         (Via Electronic Court Filing)
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   !,   Yehxda Dewlck, under th* pe*alty cf perjury* depnses and say:



              I   am the Plaintiff in the above entitled action. I have read the foregoing

   Complaint and know the contents therecf. The same are true to my knowledge,

   except as to rnatters therein stated to be alleged on information and belief and as

   to those matters I believe them to be true.




                                               Yehuda Dewick



                                                       ifa["aL.   l'*'rcri         [PrintedJ

                                                   Plaintiff



   Affirmed before me this
                                   '   3 day of Cc*"bs-f 2018
         n
                       |J*
   Notary Public
             UBSELKLINGER

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